     Case 2:16-cv-02656-JAD-EJY Document 114 Filed 12/02/21 Page 1 of 2



 1   Michael J. McCue (Nevada Bar #6055)
     Meng Zhong (Nevada Bar #12145)
 2   LEWIS ROCA ROTHGERBER CHRISTIE LLP
     3993 Howard Hughes Parkway, Suite 600
 3   Las Vegas, NV 89169-5996
     Tele: (702) 949-8200
 4   E-mail: mmccue@lewisroca.com
     E-mail: mzhong@lewisroca.com
 5
     Theresa M. Bevilacqua (pro hac vice)
 6   Tiana M. Towns (pro hac vice to be filed)
     DORSEY & WHITNEY LLP
 7   50 S 6th St., Suite 1500
     Minneapolis, MN 55402-1498
 8   Tele: (612) 340-2600
     E-mail: bevilacqua.theresa@dorsey.com
 9   E-mail: towns.tiana@dorsey.com

10   Attorneys for Defendant and Counter-Plaintiff
     Cirrus Design Corporation
11
                               UNITED STATES DISTRICT COURT
12                                  DISTRICT OF NEVADA

13   GREAT WESTERN AIR, LLC doing                    Case No.: 2:16-cv-2656-JAD-EJY
     business as CIRRUS AVIATION
14   SERVICES, LLC,
                                                     STIPULATION AND [PROPOSED]
15            Plaintiff and Counter-Defendant        ORDER TO EXTEND TIME TO FILE
                                                     REPLY IN SUPPORT OF MOTION FOR
16   v.                                              REALIGNMENT OF PARTIES
                                                     (ECF NO. 109)
17   CIRRUS DESIGN CORPORATION,
                                                      (First Request)
18            Defendant and Counter-Plaintiff.

19            Plaintiff/Counter-Defendant Great Western Air, LLC d/b/a Cirrus Aviation Services,
20   LLC, by and through its counsel of record and Defendant/Counter-Plaintiff Cirrus Design
21   Corporation, by and through its counsel of record hereby stipulate to extend the time for
22   Defendant to Reply in Support of Motion for Realignment of Parties from December 1, 2021
23   to December 8, 2021. This stipulation is the first request for extension to file the reply and is
24   based on the fact that the original reply period overlapped with Thanksgiving.
25            IT IS SO AGREED AND STIPULATED this 1st day of December, 2021:
26     LEWIS ROCA                                    FOX ROTHSCHILD LLP
       ROTHGERBER CHRISTIE LLP
27
       By: /s/ Meng Zhong                       .    By: /s/ Mark J. Connot             .
28     Michael J. McCue                              Mark J. Connot, Esq.



     116147171.1
     Case 2:16-cv-02656-JAD-EJY Document 114 Filed 12/02/21 Page 2 of 2



 1    Meng Zhong                               Kevin M. Sutehall, Esq.
      3993 Howard Hughes Parkway, Suite 600    1980 Festival Plaza Drive, Suite 700
 2    Las Vegas, NV 89169-5996                 Las Vegas, NV 89135
                                               mconnot@foxrothschild.com
 3    Attorneys for Defendant and Counter-     ksutehall@foxrothschild.com
      Claimant Cirrus Design Corporation
 4                                             Attorneys for Plaintiff and Counter-Defendant
                                               Cirrus Aviation Services, LLC
 5

 6                                            IT IS SO ORDERED:
 7

 8                                            ___________________________________
                                              UNITED STATES MAGISTRATE JUDGE
 9

10                                            DATED:
                                                           December 2, 2021

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                              -2-
     116147171.1
